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                           UNITED STATES DISTRICT COURT
  8
                 CENTRAL DISTRICT OF CALIFORNIA – EASTERN DIVISION
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10
      BARRY LUQUE,                             Case No. EDCV 19-2059-RGK (AS)
11
                        Plaintiff,
12
            v.                                         JUDGMENT
13
      COUNTY OF SAN BERNARDINO, et
14    al.,

15                      Defendants.

16

17         Pursuant to the Court’s Order Accepting Findings, Conclusions
18    and Recommendations of United States Magistrate Judge,
19

20         IT IS ADJUDGED that the above-captioned action is dismissed

21    with prejudice.

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           DATED:    9/25/2020
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25                                              _____________ _____________
                                                      R. GARY KLAUSNER
26                                              UNITED STATES DISTRICT JUDGE
27

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